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6
                   SUPERIOR COURT FOR THE STATE OF WASHINGTON
7                         IN AND FOR THE COUNTY OF KING
8
      KRISTA PEOPLES, an individual,               No.
9
                                 Plaintiff,        CLASS ACTION
10
            v.                                     COMPLAINT FOR VIOLATION OF
11                                                 CONSUMER PROTECTION ACT
                                                   CHAPTER 19.86 RCW
12    UNITED SERVICES AUTOMOBILE
      ASSOCIATION and USAA CASUALTY
13    INSURANCE COMPANY,                           JURY TRIAL DEMANDED
14                               Defendants.
15
                                     I.         INTRODUCTION
16
           Plaintiff, Krista Peoples, individually and on behalf of all members of the Class of
17
     similarly situated Washington health care providers, allege the following Complaint and
18
     causes of action against United Services Automobile Association and USAA Casualty
19
     Insurance Company (“Defendants” or “USAA”).
20
                                          II.     PARTIES
21
           1.     Plaintiff Krista Peoples is a Washington resident. Ms. Peoples was
22
     injured in an auto accident occurring on September 26, 2015, in Seattle, King County,
23
     Washington. During a time period that is material to the allegations herein, Ms.
24
     Peoples resided in Seattle, King County, Washington.
25
           2.     Defendants United Services Automobile Association and USAA Casualty
26
     Insurance Company are foreign insurance companies that are licensed to do business
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1    in Washington and did business in Washington and King County during the time period

2    at issue. As used herein, “USAA” refers to the Defendant corporations, United

3    Services Automobile Association and USAA Casualty Insurance Company. USAA has

4    sold and/or underwritten automobile insurance policies in Washington that provided

5    Personal Injury Protection (“PIP”) coverage requiring the payment of “all reasonable

6    and necessary” medical expenses incurred by a covered person arising from a covered

7    accident within the meaning of the PIP statute, Chapter 48.22 RCW.

8                              III.   JURISDICTION AND VENUE

9           3.     This Court has jurisdiction pursuant to RCW 2.08.010 and RCW

10   4.28.185.

11          4.     During the time period at issue, USAA did and continues to do substantial

12   business within King County, Washington.

13          5.     Pursuant to RCW 4.12.025 and RCW 4.12.020, venue is proper in the

14   King County Superior Court.

15                              IV.     FACTUAL ALLEGATIONS

16   A.    Plaintiff’s individual factual allegations
17          6.     Plaintiff re-alleges and incorporations the allegations set forth in

18   paragraphs 1 through 5 above.

19          7.     On September 26, 2015, Plaintiff was merging onto the on-ramp of

20   northbound SR 99, near Bell Street, in Seattle, King County, Washington.

21          8.     While yielding for traffic ahead, the vehicle behind Ms. Peoples failed to

22   slow down and crashed into Ms. Peoples’s vehicle.

23          9.     Plaintiff suffered injuries as a result of the crash and continues to have

24   pain due to crash-related injuries.

25          10.    Plaintiff’s vehicle sustained substantial damage.

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1            11.   At the time, Ms. Peoples was insured by USAA through an automobile

2    policy that contained PIP coverage.

3            12.   The PIP coverage provided for payment of reasonable and necessary

4    medical expenses.

5            13.   Under the PIP statute, PIP coverage requires payment of “all reasonable

6    and necessary” medical expenses. See RCW 48.22.005(7)

7            14.   Under insurance regulations, WAC 284-30-330 et seq, insurers are

8    required to adopt and implement reasonable procedures for investigating PIP

9    insurance claims before refusing to pay them in full.

10           15.   Under insurance regulations, WAC 284-30-330 et seq, insurers are

11   required to independently investigate a PIP insurance claim before refusing to pay it in

12   full.

13           16.   Under insurance regulations, WAC 284-30-330 et seq, insurers are

14   prohibited from misrepresenting facts relating to coverage and payment on a PIP claim.

15           17.   Plaintiff sought and received medical treatment for her injuries.

16           18.   The medical treatment Ms. Peoples received was causally related to her

17   injuries.

18           19.   The medical treatment Ms. Peoples received was reasonable and

19   necessary.

20           20.   As a result of receiving medical treatment and services for her injuries,

21   Ms. Peoples incurred medical expenses.

22           21.   USAA directs its insureds to have their providers bill USAA for treatment

23   and or directed insureds’ providers to bill USAA directly rather than the patient or

24   insured.

25           22.   Ms. Peoples’s medical treatment providers submitted bills for medical

26   expenses incurred by Ms. Peoples to USAA.

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1           23.    USAA refused to pay the medical expense bills in full submitted by Ms.

2    Peoples’s medical treatment providers.

3           24.    USAA refused to pay the medical expense bills in full even though the

4    bills submitted were the result of reasonable and necessary medical expenses.

5           25.    USAA refused to pay the medical expense bills in full even though Ms.

6    Peoples’s had benefits under her policy that had not been exhausted at the time the

7    bills were submitted.

8           26.    For instance, on bills sent to USAA by Ms. Peoples’s providers, USAA

9    sent those providers an Explanation of Reimbursement (“EOR”).

10          27.    The EOR identified the service provider’s name and billing address, the

11   billing provider’s name and billing address, the patient, the date of service, the CPT

12   number for the treatment service billed, a description of the treatment service, the units

13   of the treatment being billed, the billed amount, and the “REIM Amount,” for the

14   reimbursement amount.

15          28.    On those EORs where USAA refused to pay Ms. People’s medical

16   treatment providers in full, the EOR stated, in pertinent part, that the bill “exceeded a

17   reasonable amount for the service provided.” See Exhibit 1 attached hereto.

18          29.    However, USAA conducted no independent investigation into the

19   reasonableness of the bill before refusing to pay it in full.

20          30.    USAA relied solely and exclusively on an automated and arbitrary

21   computerized bill review by a third-party, Auto Injury Solutions (“AIS”). The computer

22   generated an EOR stating that the billed amount “exceeded a reasonable amount for

23   the service provided.” USAA’s practice of having AIS do automated computerized

24   reviews and denials based on an EOR stating that the billed amount “exceeded a

25   reasonable amount for the service provided” added an additional term or condition for

26   payment that the billed amount be less than an arbitrary amount set by the computer.

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1           31.    USAA did not know or investigate the identify, background, credentials,

2    experience, or any other personal characteristic of the individual provider treating Ms.

3    Peoples or those others in the area before refusing to pay the bill in full.

4           32.    USAA did not know or investigate whether the full amount billed

5    exceeded the maximum reasonable amount for similar providers with similar years of

6    experience or credentials in the city or location where the service was provided.

7           33.    Ms. Peoples sustained injury and economic damages as a direct and

8    proximate result of USAA’s failure to pay her medical expense bills in full, including

9    damages and injury caused by the underpayment of her bills, nonpayment of her bills,

10   and/or delay in payment of her bills.

11          34.    USAA also denied total payment on some of Ms. Peoples’s medical

12   treatment bills.

13          35.    On the EORs at issue, USAA denied payment on Ms. People’s medical

14   treatment bills prior to determining whether the bill was reasonable and necessary.

15   See Exhibit 2 attached hereto.

16          36.    On the EORs at issue, USAA claimed that a provider’s diagnosis did not

17   “support” the service, the submitted documentation “does not support the medical

18   necessity and/or relatedness of the treatment to the loss following an apparent lapse in

19   treatment, or “Prior review of the submitted documentation did not substantiate the

20   need for continued” therapy.

21          37.    However, these statements were false.

22          38.    USAA made a decision to deny the bill prior to evaluating the bill for any

23   of the reasons identified in the EORs at issue.

24          39.    Prior to denying the bill, USAA did not know or investigate the identity,

25   background, credentials, experience, or any other personal characteristic of the

26   provider treating Ms. Peoples or those others in the area.

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1           40.    Prior to denying the bill, USAA did not contact or communicate with the

2    provider to discuss Ms. Peoples’s treatment, the reasonableness of the bill, or the

3    medical necessity of the treatment.

4           41.    Prior to denying the bill, USAA did not contact or communicate with the

5    provider regarding whether additional information was necessary to evaluate the bill.

6           42.    Prior to denying the bill, USAA did not contact or communicate with the

7    provider to identify specific information that was necessary to evaluate the.

8           43.    Prior to denying the bill, USAA did not contact or communicate with its

9    insured to evaluate her background or any other personal characteristics concerning

10   her treatment, the reasonableness of the bill, or the medical necessity of the treatment.

11          44.    Prior to denying the bill, USAA did not contact or communicate with its

12   insured regarding whether additional information was necessary to evaluate the bill.

13          45.    Prior to denying the bill, USAA did not contact or communicate with its

14   insured to identify specific information that was necessary to evaluate the bill.

15          46.    In denying payment on these bills, USAA relied on a computer program

16   that automatically flags certain bills for denial.

17          47.    These flags include arbitrarily and automatically denying bills where there

18   is a 90-day gap in treatment or when the insured has exceeded 13 treatments for

19   certain CPT procedures.

20          48.    USAA refused to pay these bills even though Ms. Peoples’s providers

21   determined that the treatments were reasonable and necessary.

22          49.    USAA’s practices proximately caused Ms. Peoples to sustain injury and

23   economic damages.

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     B.    Putative class allegations
1
            50.    Plaintiff re-alleges the facts set forth in paragraphs 1 through 33 as if fully
2
     set forth in support of the claims of the Putative Class.
3
            51.    From at least September 1, 2015 to July 5, 2018, more than 1,100
4
     Washington insureds submitted reasonable medical expense bills for payment under a
5
     USAA PIP policy and had their payments reduced based solely and exclusively on a
6
     computer program. This putative Class consists of residents of multiple counties in
7
     Washington and is geographically diverse.
8
            52.    The bills submitted for payment to USAA by this putative Class of more
9
     than 1,100 Washington insureds and had their payments reduced solely and
10
     exclusively on a computer program were reasonable.
11
            53.    From at least September 1, 2015, to July 5, 2018, on those bills at issue,
12
     USAA stated in EORs that the bill exceeded a “reasonable amount for the service
13
     provided.”
14
            54.    Whenever the EOR stated that the basis for denying full payment of the
15
     amount billed for a CPT procedure was that the bill “exceeded a reasonable amount for
16
     the service provided,” the process for denying payment was the same. The process
17
     was that USAA relied solely and exclusively on an automated and arbitrary
18
     computerized bill review Auto Injury Solutions (“AIS”). The computer generated an
19
     EOR stating that the billed amount “exceeded a reasonable amount for the service
20
     provided.” USAA’s practice of having AIS do automated computerized reviews and
21
     denials based on an EOR stating that the billed amount “exceeded a reasonable
22
     amount for the service provided” added an additional term or condition for payment that
23
     the billed amount be less than an arbitrary amount set by the computer.
24
            55.    The billed amounts were the provider’s usual and customary charge for
25
     the CPT procedure billed to auto insurers and paid by other auto insurers who did not
26
     use the computer program used by USAA.
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1          56.    USAA processed, reduced, and paid the bills of the putative Class of

2    more than 1,100 Washington insureds using the same common practices and

3    procedures that were applied to bills submitted by Ms. Peoples and reduced based

4    solely and exclusively on an automated computerized review of bills by AIS.

5          57.    The average reduction on each EOR stating that the bill exceeded a

6    “reasonable amount for the service provided” averaged less than $20.

7          58.    The average individual claim of the putative Class of more than 1,100

8    insureds for underpayments of their bills based solely on EORs stating that the bill

9    exceeded a “reasonable amount for the service provided” is likely to be small and less

10   than $200. The time it would take insureds to contest the reductions makes it

11   economically infeasible and/or impracticable to do so because the average individual

12   reductions are so small.

13         59.    The time it would take insureds to contest the reductions or submit

14   additional information to USAA cannot be justified as well because USAA would not

15   and does not consider any such protests or additional information that would be

16   submitted to support the reasonableness of the provider’s charge for the CPT

17   procedure billed. There is no information that a Washington provider could submit to

18   USAA that would cause USAA to pay the billed amount in full when the billed amount

19   has been reduced based solely and exclusively on a computer program other than the

20   insured informing USAA that the insured’s provider has commenced action against the

21   insured to be paid the difference between the amount billed and the amount paid by

22   USAA.

23         60.    Prior to paying insureds’ providers less than the full amount billed, USAA

24   had not entered into a contract with the provider to accept less than the provider’s

25   usual and customary charge for the services billed other auto insurers.

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1           61.    USAA had not entered into any contract with the provider to accept less

2    than the market rate for the services provided, defined as the amount a willing patient

3    would pay on the open market for the services.

4           62.    Nor did USAA offer to pay the provider in cash, in full, at the time of

5    service.

6           63.    USAA did not have a practice of offering to pay providers a reduced

7    “cash rate” at the time of service.

8           64.    The amount paid was not based on a fee schedule set by the State of

9    Washington.

10          65.    When USAA paid providers treating the putative Class of more than

11   1,100 Washington less than the full amount billed, the USAA claims representative or

12   adjustor assigned to the claim did not independently investigate whether the amount

13   billed was a reasonable amount for the provider to charge for the CPT procedure.

14          66.    Before USAA sent the reduced check or payment to those providers, no

15   one else at USAA made such an investigation.

16          67.    In paying providers treating the putative Class of more than 1,100

17   Washington insureds less than the full amount billed based, the person who made the

18   payment for USAA relied solely on a “Reim Amount” set out in the EOR as the amount

19   to pay the provider for the CPT procedure billed.

20          68.    USAA’s practices of making automatic reductions to the bills submitted by

21   the providers treating the putative Class of more than 1,100 Washington insureds were

22   a mere sham used by USAA to avoid its affirmative duty to pay all reasonable medical

23   expense bills submitted and to conduct a reasonable investigation of the provider’s PIP

24   claim for reimbursement before denying full payment. The practices were a mere

25   sham because USAA’s practices systematically, consistently and repeatedly underpaid

26   providers and resulted in USAA systematically, consistently and repeatedly failing to

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1    make “payments of all reasonable” medical expenses under its PIP policy as required

2    by the Washington PIP statute.

3           69.    The total amount in controversy on the claims of the members of the

4    class described in this Complaint is substantially less than Five Million Dollars

5    ($5,000,000). The maximum amount of all damages, treble or exemplary damages,

6    costs and attorney fees, and/or any other relief awardable under Washington law is

7    less than Five Million Dollars ($5,000,000).

8           70.    Plaintiff is a member of the Class of 1,100 Washington insureds

9    described above.

10                 a)    Civil Procedure Rule 23 Allegations
11          71.    Plaintiff brings this action as a Class Action for damages sustained by

12   Plaintiff and the putative Class of Washington insureds described above pursuant to

13   Rule 23(a) and(b)(3) of the Washington State Superior Court Civil Rules. Plaintiff

14   seeks to certify the following Class:

15         All Washington insureds who from September 1, 2015 to July 5, 2018
           (“Class period”) had their PIP claims for reimbursement of medical
16         expenses reduced by Defendant USAA based solely on an Explanation of
           Reimbursement (“EOR”) form sent to the insured’s provider stating that the
17         bill exceeded a “reasonable amount for the service provided”.
18          72.    CR 23(a)(1): Class certification is proper under CR 23(a) (1) because the

19   members of the class total more than 1,100 insureds and the insureds are

20   geographically dispersed over numerous cities and counties in the state of

21   Washington.

22          73.    Because of the number of Class members and their geographic

23   dispersion, individual joinder of each putative Class member is not practicable.

24          74.    CR 23(a)(2): Class certification is proper under CR 23(a)(2) because

25   USAA applied a common practice of making reductions to the bills of all Class

26   members over the class period from September 1, 2015 to July 5, 2018. USAA’s

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1    practices raise questions of law and fact common to all members of the Class

2    including:

3       a. Whether USAA’s practice of making reductions to class member bills was based

4          on an automated computer review to limit payments on Washington PIP claims.

5       b. Whether USAA relied solely and exclusively on an automated and arbitrary

6          computerized bill review by a third-party, Auto Injury Solutions (“AIS”).

7       c. Whether the AIS computer generated an EOR stating that the billed amount

8          “exceeded a reasonable amount for the service provided.”

9       d. Whether USAA’s practice of having AIS do automated computerized reviews and

10         denials based on an EOR stating that the billed amount “exceeded a reasonable

11         amount for the service provided” added an additional term or condition for

12         payment that the billed amount be less than an arbitrary amount set by the

13         computer.

14      e. Whether it was USAA’s practice when making reductions to rely on the “REIM

15         amount” set out by AIS’s computer in a draft EOR and to not have USAA

16         adjusters or representatives independently investigate if the full amount billed by

17         the provider was reasonable in the provider’s specific location or medical market

18         or the full amount billed was reasonable for that provider to charge for the CPT

19         procedure given the provider’s background, experience and individual

20         characteristics.

21      f. Whether USAA’s practice of having AIS’s computer do automated denials and

22         reductions of provider bills violated the requirement in the PIP statute, RCW

23         48.22.005(7) because the practice resulted in USAA systematically, consistently

24         and repeatedly failing to make “payments for all reasonable” medical expenses

25         submitted on PIP claim.

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1     g. Whether USAA’s practice of having AIS’s computer do automated denials and

2       reductions of provider bills violated the requirement in WAC § 284.30.330 et seq.

3       that insurers adopt and implement reasonable procedures for investigating PIP

4       insurance claims before denying full payment to insured’s providers because the

5       practice resulted in USAA systematically, consistently and repeatedly using a

6       procedure that does not determine reasonable provider fees.

7     h. Whether USAA’s practice of having AIS’s computer do automated denials and

8       reductions of provider bills violated the requirement in WAC § 284.30.330 et seq.

9       that insurers conduct a reasonable investigation of a PIP insurance claim for

10      payment of all reasonable medical expenses before sending an insured’s

11      provider a reduced check that denies full payment because the practice resulted

12      in USAA systematically, consistently and repeatedly using a procedure that could

13      not determine reasonable provider fees and resulted in USAA systematically,

14      consistently and repeatedly failing to make “payments for all reasonable” medical

15      expenses submitted on PIP claims.

16    i. Whether USAA’s practice of using an EOR that represented a reimbursement

17      amount that was reduced was based on a determination that the amount billed

18      exceeded “a reasonable amount for the services provided” violated the provision

19      of WAC § 284.30.330 et seq. barring insurers from misrepresenting facts relating

20      to their payment of insurance claims because the program USAA relied upon

21      cannot determine the maximum reasonable charge for any CPT procedure in any

22      Washington area.

23    j. Whether USAA’s practices of having AIS’s computer do automated denials and

24      reductions of provider bills or using a misleading EOR constituted unfair practices

25      that violated the Washington Consumer Protection Act, RCW 19.86 et seq.

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1       k. Whether USAA’s practices were unfair practices under the standards adopted by

2          Washington Courts including whether the practices were unfair because there

3          were no benefits to insureds from USAA’s practices that substantially outweighed

4          the detriment to them and they could not avoid having their bills reduced.

5       l. Whether USAA’s practices were unfair CPA practices in relationship to the

6          applicable Washington law and regulations relating to the payment of PIP

7          insurance claims, including RCW 4.22.005(7) and WAC § 284.30.330 et seq.

8       m. Whether Class members sustained injury to their business caused by USAA’s

9          practice in the form of reduced payments, investigative costs, and out-of-pocket

10         expenses, or in some other manner.

11          75.    CR 23(a)(3): Class certification is proper under CR 23(a)(3) because

12   Plaintiff’s claims are typical of the claims of the members of the putative class and

13   USAA’s defenses to the claims of Plaintiff are also typical of the defenses to such

14   claims. The claims and defenses are typical because they arise out of the same

15   common policies and practices which USAA applied to all of the putative Class of more

16   than 1,100 Washington insureds described above. The claims arise from the same

17   alleged unfair scheme undertaken by USAA to deprive Washington insureds of full

18   benefits under their PIP policies because whenever the EOR states that the REIM

19   amount is less than the amount billed and the explanation given is that the amount

20   “exceeds a reasonable amount” USAA used the same allegedly unfair practice in

21   denying full payment of the bill.

22          76.    CR 23(a)(4): Class certification is proper under CR 23(a)(4) because

23   Plaintiff can fairly and adequately represent the interests of the other members of the

24   Class. Plaintiff has no interests that are antagonistic to the interests of the putative

25   Class. Plaintiff and the Class have the same interest in seeking full payment of all bills

26   that were reduced based solely and exclusively on a computer program. Plaintiff

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1    retained skilled attorneys who have represented claimants and class members with

2    similar claims to those brought in this lawsuit. Plaintiff’s counsel have been appointed

3    Class counsel in previous cases involving PIP claims and insurers’ reliance upon

4    computer programs to solely and exclusively reduce payments to insureds’ providers.

5           77.    CR 23(b)(3): Class certification is proper under CR 23(b)(3) because the

6    questions of law and fact common to the class, as set forth above predominate over

7    any questions affecting only individual members of the class. Common questions

8    predominate because USAA undertook a common course of conduct towards all

9    members of the class of Washington insureds and applied its practices at issue to all

10   bills submitted under its PIP coverage during the class period.

11          78.    Class certification is proper under CR 23(b)(3) because a class action is

12   a superior method for adjudicating the claims of the members of the class than more

13   than 1,100 individual actions in numerous cities and counties of Washington that raise

14   the identical factual and legal issues concerning USAA’s PIP processing and payment

15   practices.

16          79.    Class certification is a superior method of adjudicating the claims

17   because the individual class members have little interest in individually controlling the

18   prosecution of their claims. The average amount of the individual claims in controversy

19   is likely to be less than $200.

20          80.    The class members are busy individuals who have limited time to devote

21   to the prosecution of their individual claims.

22          81.    Class certification is a superior method of adjudicating the claims

23   because there is no significant individual litigation already commenced by Washington

24   insureds against USAA raising the identical claims.

25          82.    Class certification is a superior method of adjudicating the claims

26   because it is desirable to concentrate the litigation and claims in a single forum to avoid

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1    duplicity of actions and inconsistent adjudications of identical claims. King County is a

2    desirable forum for litigation of the class claims because it is the County in which most

3    class members are located and where the Defendants’ in-state witnesses are likely

4    located. The cost to the court system of the various counties where class members

5    are located would be substantial if the claims were adjudicated on an individualized

6    basis.

7             83.      Class certification is a superior method of adjudicating the claims

8    because there are few difficulties likely to be encountered in the adjudication of the

9    class members’ legal claims. The King County Superior Court certified a litigation class

10   that alleged similar claims in prior litigation. The common liability issues were tried to a

11   jury on a class basis and a verdict entered.

12                             V.     PLAINTIFF’S INDIVIDUAL CLAIMS

13   A.     Cause of Action: Violation of the Consumer Protection Act
14            84.      Plaintiff re-alleges each and every allegation as set forth in paragraphs 1

15   through 49.

16            85.      USAA’s practice of denying any and all payments to Plaintiff’s providers

17   on medical expenses that were reasonable violated the requirement in the PIP statute,

18   RCW 48.22.005(7), to make payments of “all” reasonable medical expenses submitted.

19            86.      USAA’s practice of denying any and all payments to Plaintiff’s providers

20   on medical expenses that were reasonable violated WAC 284-30-330 et seq. that

21   required USAA to adopt and implement reasonable procedures for investigating PIP

22   insurance claims before refusing to pay them in full.

23            87.      USAA’s practice of denying any and all payments to Plaintiff’s providers

24   on medical expenses that were reasonable” violated WAC 284-30-330 et seq. that

25   required USAA to independently investigate a PIP insurance claim before refusing to

26   pay it in full.

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1           88.    USAA’s practice of having AIS do automated computerized reviews and

2    denials based on an EOR stating that the billed amount “exceeded a reasonable

3    amount for the service provided” added an additional term or condition for payment that

4    the billed amount be less than an arbitrary amount set by the computer.

5           89.    USAA’s practice of having AIS do automated computerized reviews and

6    denials based on USAA using a 90 day gap in treatment or 13th treatment flag added

7    an additional term or condition for payment that the billed procedure had to be within a

8    90 day period after the accident or after the last treatment and/or that there had to be

9    less than 13 treatments.

10          90.    USAA’s practice of falsely claiming a provider’s diagnosis did not

11   “support” the service, the submitted documentation “does not support the medical

12   necessity and/or relatedness of the treatment to the loss following an apparent lapse in

13   treatment, or “Prior review of the submitted documentation did not substantiate the

14   need for continued” therapy violated the requirement in WAC 284-30-330 et seq. to not

15   misrepresent facts relating to coverage and USAA’s payment of the PIP claim

16          91.    USAA’s practices occurred in the course of its business and commerce.

17          92.    USAA’s practices were part of a generalized course of conduct repeated

18   on thousands of occasions when provider bills were submitted to USAA for payment

19   under its PIP coverage over the pertinent class period.

20          93.    USAA’s practice affected the public interest.

21          94.    The business of insurance affects the public interest. RCW 48.01.030.

22   B.    Plaintiff’s Damages on Individual Claims
23          95.    As a direct and proximate result of USAA’s wrongful conduct described in

24   paragraphs 1 through 49 and 84 through 94, Plaintiff sustained injury to her property

25   and damages in an amount to be established at trial.

26

27
     CLASS ACTION COMPLAINT - 16
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1           96.      The injury and damages sustained by Plaintiff include, but are not limited

2    to, investigative expenses and out-of-pocket costs incurred as a result of USAA’s

3    wrongful conduct.

4           97.      Plaintiff’s individual claim is more than $210 but substantially less than

5    $60,000.

6                                       VI.    CLASS CLAIMS

7    A.    Cause of Action: Violation of the Consumer Protection Act
8           98.      Plaintiff re-alleges each and every allegation as set forth in paragraphs 1

9    through 33 and 50 through 83 above.

10          99.      USAA’s practice over the class period of denying full payment as set forth

11   in EORs stating that the bill exceeded a “reasonable amount for the service provided”

12   violated the requirement in the PIP statute, RCW 48.22.005(7), to make payments of

13   “all” reasonable medical expenses submitted.

14          100.     USAA’s practice over the class period of denying full payment as set forth

15   in EORs stating that the bill exceeded a “reasonable amount for the service provided”

16   violated WAC 284-30-330 et seq. that required USAA to adopt and implement

17   reasonable procedures for investigating PIP insurance claims before refusing to pay

18   them in full.

19          101.     USAA’s practice over the class period of denying full payment as set forth

20   in EORs stating that the bill exceeded a “reasonable amount for the service provided”

21   violated WAC 284-30-330 et seq. that required USAA to independently investigate a

22   PIP insurance claim before refusing to pay it in full.

23          102.     USAA’s practice of having AIS do automated computerized reviews and

24   denials based on an EOR stating that the billed amount “exceeded a reasonable

25   amount for the service provided” added an additional term or condition for payment that

26   the billed amount be less than an arbitrary amount set by the computer.

27
      CLASS ACTION COMPLAINT - 17
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1          103.   USAA’s practice over the class period of using a misleading EOR that

2    falsely stated that the reimbursement amount was based on a determination that the

3    amount billed was in excess of the maximum reasonable charge for the service

4    violated the requirement in WAC 284-30-330 et seq. to not misrepresent facts relating

5    to coverage and USAA’s payment of the PIP claim.

6          104.   USAA’s practices occurred in the course of its business and commerce.

7          105.   USAA’s practices were part of a generalized course of conduct repeated

8    on thousands of occasions when provider bills were submitted to USAA for payment

9    under its PIP coverage over the pertinent class period.

10         106.   USAA’s practice affected the public interest.

11         107.   The business of insurance affects the public interest. RCW 48.01.030.

12         108.   USAA’s practices occurred in the course of its insurance business and

13   adversely affected more than 1,100 Washington insureds.

14         109.   USAA’s practices over the Class period from September 1, 2015 to July

15   5, 2018 were unfair and in violation of the Washington Consumer Protection Act,

16   Chapter 19.86 RCW et seq.

17         110.   There were no benefits to insureds from USAA’s practices. Any benefit

18   to insureds from USAA’s practice was substantially outweighed by the detriments to

19   receiving reduced benefits on PIP claims.

20         111.   USAA’s practices were unfair and in violation of the Washington

21   Consumer Protection Act, Chapter 19.86 RCW et seq., in relationship to the

22   requirements of the PIP statute and WAC 284-30-330 et seq.

23         112.   The members of the putative Class of more than 1,100 insureds,

24   including Plaintiff, sustained injury to their business and property caused by USAA’s

25   practice in the form of reduced benefits, investigative costs, and out-of-pocket

26   expenses.

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     CLASS ACTION COMPLAINT - 18
           Case 2:18-cv-01173-RSL Document 1-1 Filed 08/09/18 Page 19 of 40




1           113.   The members of the putative Class of more than 100 insureds, including

2    Plaintiff, sustained damages that were proximately caused as a direct result of USAA’s

3    practices.

4           114.   USAA is liable to Plaintiff and the Class for statutory, actual, and treble

5    damages, prejudgment interest, attorney fees, and costs under the CPA, Chapter

6    19.86 RCW et seq.

7    B.    Class Damages
8           115.   As a direct and proximate result of USAA’s wrongful conduct described in

9    paragraphs 1 through 33, 50 through 83, and 98 through 114 above, Plaintiff and

10   members of the putative class of Washington insureds sustained injury to their property

11   and damages in an amount that will be established at trial, but which amount totals

12   substantially less than $5,000,000. All relief available to the putative Class under

13   Washington law for damages, out of pocket expenses, attorney fees and any other

14   form of relief totals substantially less than $5,000,000.

15          116.   The injury and damages sustained by Plaintiff and putative Class

16   members include, but are not limited to, investigative expenses and out-of-pocket costs

17   incurred as a result of USAA’s wrongful conduct.

18          117.   Excluded from damages are reduced or denied bills submitted on PIP

19   claims where the policy limits on the claims were already exhausted at the time the bill

20   was submitted for payment to USAA. Damages include bills that were reduced or

21   denied when sufficient policy limits existed on the PIP claim to pay the bill when the bill

22   was submitted to USAA for payment. Damages include out of pocket expenses that

23   were incurred as a result of USAA’s reduction or denial of a bill without regard for

24   whether and when policy limits became exhausted.

25

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      CLASS ACTION COMPLAINT - 19
             Case 2:18-cv-01173-RSL Document 1-1 Filed 08/09/18 Page 20 of 40




1                                   VII.   RELIEF REQUESTED

2             118.   WHEREFORE, Plaintiff and the putative class request that a judgment be

3    entered in their favor against Defendants on their Consumer Protection Act claims and

4    that the Court:

5             119.   Certify the case as a Class Action under CR 23(a) and 23(b)(3) on behalf

6    of the alleged putative class of insureds;

7             120.   Award actual damages to be established at trial as provided by the

8    Consumer Protection Act (“CPA”), Chapter 19.86 RCW et seq.;

9             121.   Award treble damages as provided by the CPA, Chapter 19.86 RCW et

10   seq.;

11            122.   Award Plaintiff a reasonable class representative fee in an amount

12   approved by the Court and award reasonable attorney’s fees and costs as provided by

13   the CPA and class action law in amounts approved by the Court;

14            123.   Award Plaintiff and the Class prejudgment interest at the rate of 12% per

15   annum as provided by the CPA, Chapter 19.86 RCW et seq., or such other rate as

16   provided by law; and

17            124.   Award Plaintiff and the Class, their reasonable litigation expenses,

18   disbursements, and costs of suit.

19           //

20           //

21           //

22           //

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      CLASS ACTION COMPLAINT - 20
         Case 2:18-cv-01173-RSL Document 1-1 Filed 08/09/18 Page 21 of 40




1        DATED: July 9, 2018.

2                                        BRESKIN JOHNSON TOWNSEND, PLLC
3                                        By:     s/Brendan W. Donckers
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4                                              Brendan W. Donckers, WSBA #39406
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12                                             youngji@washinjurylaw.com
13                                       Attorneys for Plaintiff
14

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                                                         ' ___                            ______ "_'_"'M __ "' __ ' _ _ "'_''' ___ ' ___ ''''_' ___ .... _ ..... _____ ... _ .. _ ... _ .... _ ... _ .... _ ......... _ .... __ ............ _"._. ___ .. _ .. " .. _. __ •__           .. _ ... __ •___ •___ ... _._ ......... __ ._.

                                                             Case 2:18-cv-01173-RSL         Document 1-1  Filed 08/09/18 Page 27 of 40
                                                                   '_~'M'~_M'                                                                                                                                                                                                   ~_,,_




                                                                                                                                                                                                                                                                                                                 ~,


                                                                          BAC'~ , NECK PAIN           Member Number;
                                                                                                                           CEN

                                                                                                                           WU,ALBERT,




           2       11/19/15                         97530                                                          Therapeut actvity direct pt contact each 15 m                                                                                                                                         82.00                                      0.00

ICD Ref                          1,2,3,4

           3       11/20/15                         98941,                                                         Chiropractic manipulative be spinal 3-4 region                                                                                                                                        76.00                                      0.00                               76.00

ICDRef                           1,2,3,4

           4       11/20/15                         97530 '                                                        Therapeut actvity direct pt contact each 15 m                                                                                                                                          82.00                                     0.00

ICDRef

           5       11/23/15                         98941                                                          ,Chiropractic manipulative tx spinal 3-4 region                                                                                                                                        76.00                                     0.00                                76.00

ICD Ref                          1,2,3,4
           6       11/23/15                         97530                                                          Therapeut actvity direct pt contact each 15 m                                                                                                 1                                        82.00                                     0.00

ICDRef                           1,2,3,4
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                                                                                                                    Reimbursement Amount                                                                                    428.70
                                                                                                                                  . Apportionment G/o
                                                                                                                                                              Subtotal                                                      428.70
                                                                                                                                           Less Deductible                                                                         0.00
                                                                                                                      Umited Benefits/Copay                                                                                        0.00
                                                            Collateral Source/Healthcare carrier Payment                                                                                                                           0.00
                                                                                                                                                  Plus Interest                                                                0.00
                                                                                                                                  'EOR Check Amount                                                                          428.70
                                                                                                                        Allocated PIP Payment                                                                                428.70
                                                                                                             Allocated MedPay Payment                                                                                              0.00
                                                    /"




Comments                                              Payment for reimbursed amount was mailed separately to the medical provider or their repre~e.ntative.




  EXPLANATION ~:.                                                                        EXPLANATION FOR THE REVIEW AMOUNT                                                                                                                                                                                                                                                            REF UNE NUMBER


                                                                                         The charge exceeds' a reasonabie amount for the service provided. If you do not
                                                                                         accept the recommended amount stated on this EOR as payment in full for this
                                                                                         line item, please submit further documentation or explanation to support the
                                                                                         reasonableness of the charge submitted by you for payment.




                                                                                                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -~
                                                                                                                                                                                          Claim Rep: C:;arlos Mendez
                                                                                                                                                                                                                                                                                                                                                                                                                                                "'
                                                                                                                                                                                                                                                                                                                                                                                                                                                ,                 :.0::


                                                                                                                                                                                               800-531-8722 x                                                                                                                                                                                                                                                     ~


       Printed On--
       08-Dec-2015                        1:01 pm                                                                                                                                                                              Page 2 of 4
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                        EXHIBIT 2
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                                                                                                                                                        AM5995098- EO RID -we


                                                      EXPLANATION OF REIMBURSEMENT ("EOR")
                                                                                              This is not a bill
                                                                                                    Copy
                                                                                            Representative Copy
                                  Washington

 Company                          002 - United Services                                              Member Number:                             Adj# CE1-06839-00014
                                  Automobile Association                                                     Date Of Loss: 09/26/2015
 Receive Date                     05/06/2016                                                       Customer Service: 866-673-3443
 Service Provider                 WU, ALBERT                                                                         Fax: 888-272-1255
              XX-XXXXXXX          608 8TH AVE S
                                  SEATTLE WA 98104
                                                                                                       Representative: JENNA LABOURR
                                                                                                                       WASHINGTON INJURY LAWYERS
                                                                                                                       2211 ELLIOT AVE
 Provider Title                   Chiropractor                                                                         SEATTLE, WA 98121

 Provider Specialty

 Billing Provider                 BACK AND NECK PAIN CENTERS
                                  608 8TH AVE S
                                  SEATTLE WA 98104



Patient




The enclosed information is ta inform you of the adjusting decision that has been made by USAA concerning your claim for payment of
medical bills pursuant to your available coverages. Please review the billed services noted below far accuracy af treatment received. If the
services billed do not reflect the treatment that you received, please immediately contact your USAA claims representative. If this form
indicates that further information is requested from the provider in order to make a payment decision, please request that your provider
supply that information. If yau or your provider have questions concerning the information contained on this form ar any accompanying
physician's letter, or do not agree with the adjusting decision of USAA, please see the last page of this form for instructions regarding the
procedure for abtaining answers to questions or t<;> formally appeal this adjusting decision. Payments reflected on this EOR are sent
separately from this EOR.


Dates Of Service :                04/21/2016 to 04/21/2016


WARNING: Per Wash. Rev. Code Ann. 48.135.080, "It is a crime to knowingly provide false,
incomplete or misleading information to an insurance company for the purpose of defrauding
the company. Penalties include imprisonment, fines, and denial of insuran
 ICD REF   ICD                     POA         IND    DIAGNOSIS DESCRIPTION
           S13.4XXA                           ICD-O   Sprain lig eerv spine initial enc
           S23.3XXA                           ICD-O   Sprain ligamenls t-spine initial
           S33.5XXA                           ICD-O   Sprain ligaments lumbar spn initial
           S13.130A                           ICD-O   Sublux c2/c3 cerv vertebrae initial
           S23.122A                           ICD-O   Subluxatian t31t4 thor vert initial
           S33.130A                           ICD-O   Sublux 13M lumbar vert initial
           S33.8XXA                           ICD-O   Sprain oth parts lumb spn pelv init
           S33.39XA                           ICD-O   Disloc oth parts lumb spn pelv in it
           S73.011A                           ICD-O   Post subluxation rt hip initial
   10      G47.9                              ICD-O   Sleep disorder unspecified
   II      M79.1                              ICD-O   Myalgia
   12      M62.838                            ICD-O   Other muscle spasm


 LINE DATE OF           CPT                                                                                             BILLED      tPENALTY        REIM     REASON
   NR SERVICE           CODE          MOD       DESCRIPTION                                                  UNITS     AMOUNT      REDUCTION      AMOUNT     CODE
    1 4/21/16           99212            25     Office outpatient visit 10 minutes                                       100.00          0.00         0.00   PR167


rCD Ref
              1,2,3,4




                                                                                    Claim Rep: Holly Pool
                                                                                   800-531-8722 x 35225
 Printed On --
21-May-2016      2:04 pm                                                                       Page 1 of 3
                           Case 2:18-cv-01173-RSL Document 1-1 Filed 08/09/18 Page 30 of 40
                                   Billing Provider           BACK AND NECK PAIN                       Member Number:                                  AM5995098- EORID -we
                                                              CENTERS
                                                                                                                                                                         Copy
                                   Service Provider:          WU, ALBERT
                                                                                                          Total Charges:      $ 100.00
                                   Patient Name                                                        Dates Of Service:   04/21/2016           04/21/2016




 Total Lines:                                                                                                        100.00              0.00            0.00



                                                 Reimbursement Amount
                                                                                               0.00
                                                        Apportionment    0/0


                                                                  Subtotal                     0.00
                                                          Less Deductible
                                                                                               0.00
                                                  Limited Benefits/Capay
                                                                                               0.00
                           Collateral Source/Healthcare Carrier Paymenf                        0.00
                                                             Plus Interest                     0.00
                                                       EOR Check Amount                        0.00
                                                  Allocated PIP Payment                        0.00
                                              Allocated MedPay Payment                         0.00




Comments


 EXPLANATION                     EXPLANATION FOR THE REVIEW AMOUNT                                                                                     REF LINE NUMBER


 PR16?                           Review of the submitted documentation does not substantiate the medical
                                 necessity and/or relatedness of the treatment to the loss following an apparent
                                 lapse in treatment. Please see the attached physician letter.




                                                                            Claim Rep: Holly Pool
                                                                           800-531-8722 x 35225
 Printed On --
21-May-2016      2:04 pm                                                              Page 2 of 3
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